WILLIAM K. HARRINGTON                                                    Hearing Date and Time:
United States Trustee for Region 2                                       January 7, 2020, at 10:00 a.m.
U.S. Department of Justice
Office of the United States Trustee
201 Varick Street, Room 1006
New York, NY 10014
Tel. (212) 510-0500
By:     Andrea B. Schwartz
        Trial Attorney

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re                                                          :
                                                               :   Case No. 19-12964 (MKV)
Desmond Ellis,                                                 :
                                                               :   Chapter 7
                                    Debtor.                    :
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                        NOTICE OF MOTION AND MOTION FOR
                (1) DISMISSAL OF CHAPTER 7 CASE, OR (2) DIRECTING
                DEBTOR TO APPEAR AT MEETING OF CREDITORS AND
               EXTENDING TIME TO OBJECT TO DEBTOR’S DISCHARGE
                         AND DISCHARGEABILITY OF DEBTS

        NOTICE IS HEREBY GIVEN that the Court has scheduled a hearing to consider the
motion of William K. Harrington, the United States Trustee, pursuant to Section 707(a) of the
Bankruptcy Code, for: (1) dismissal of this Chapter 7 bankruptcy case or (2) directing the Debtor
to appear at a meeting of creditors convened pursuant to Section 341(a) of the Bankruptcy Code
and, pursuant to Rules 1017 and 4004(b) of the Federal Rules of Bankruptcy Procedure,
extending the time to object to the Debtor’s discharge and the dischargeability of the Debtor’s
debts. The hearing will be conducted by the Honorable James L. Garrity, U.S. Bankruptcy Judge,
on January 7, 2020, at 10:00 a.m., at the United States Bankruptcy Court, One Bowling Green,
New York, NY 10004.

        PLEASE TAKE FURTHER NOTICE that responsive papers, with proof of service,
shall be filed with the Clerk of the Court, with copies delivered directly to Judge Garrity’s
chambers, and served on the U.S. Trustee at U.S. Department of Justice, Office of the U.S.
Trustee, 201 Varick Street, Room 1006, New York, NY 10014 (Attn.: Andrea B. Schwartz,
Esq.), so as to be received at least seven days before the hearing. If the Debtor does not appear at
the hearing on this motion, the motion may be granted on default.

Dated: New York, New York
       December 5, 2019
                                                      WILLIAM K. HARRINGTON
                                                      UNITED STATES TRUSTEE

                                                      By     /s/ Andrea B. Schwartz
                                                             Andrea B. Schwartz
                                                             Trial Attorney


        Upon the affirmation of Salvatore LaMonica, the Chapter 7 Trustee, on file with the
Court, the U.S. Trustee hereby moves, pursuant to Section 707(a) of the Bankruptcy Code, for an
order dismissing the captioned case due to the unexcused failure of the Debtor to appear on
October 23, 2019 of creditors mandated by Section 341(a) of the Bankruptcy Code; or directing
the Debtor to appear on _____________, 2020, at 10:00 a.m., for the required Section 341(a)
meeting of creditors, and extending the time for the Chapter 7 Trustee and the U.S. Trustee to
object to the Debtor’s discharge and dischargeability of particular debts until 60 days following
the above-referenced date for the Section 341(a) meeting.

Dated: New York, New York                             WILLIAM K. HARRINGTON
       December 5, 2019                               UNITED STATES TRUSTEE

                                                      By     /s/ Andrea B. Schwartz
                                                             Andrea B. Schwartz
                                                             Trial Attorney




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